    Case 8:09-cv-00693-DOC-RNB Document 9 Filed 03/17/10 Page 1 of 1 Page ID #:31
                                                                                                    CLEAR FORM




                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                        OFFICE OF THE CLERK OF COURT



                                                                                MEMORANDUM


Date: March 17, 2010
To:   Courtroom Deputy Clerk to, David O. Carter
From: Kristee Hopkins, CRD
Re:      Notice of Statistical Adjustment
         Case Number: SACV 09-693-DOC (RNBx)
         Case Name: Desislava Krapf v. American Coradius International LLC

                                                  ✔Closing G Reopening G Reassignment of the above-
         This is to notify you that the G Opening G
entitled case will be reported for the month of March 2010         instead of September 17, 2009
for the following reason(s):

G        Document        G closing G reopening G reassigning the case, filed on
         was received on                            , after the reporting cut-off for the filing month.
            F Made JS-5 this date.    F Made JS-6 this date.          F Reassignment made this date.

✔
G        Document    G✔closing G reopening G reassigning the case was docketed timely but the
         ✔ JS-6
         G           G JS-5        G Reassignment was not statistically made.
            F Made JS-5 this date. ● Made JS-6 this date. F Reassignment made this date.
                                   F

G        Case was G closed in error on                           . Reopening JS-5 made this date.

G        Case was G reopened in error on                                . Closing JS-6 made this date.

G        Case was G assigned G reassigned to                                                    in error.
         Case is, this date, reassigned from                                                                     to
                                                                                                                      .

G        Other:



cc: Data Collections & Analysis
    Supervisor: G DQA           G Deputy in Charge


CV-107 (02/08)                    MEMORANDUM RE: NOTICE OF STATISTICAL ADJUSTMENT
